 Case 14-40181         Doc 143      Filed 07/11/18 Entered 07/11/18 13:38:26             Desc Main
                                     Document Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-40181
         ANGELA Y CONNER

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 11/05/2014.

         2) The plan was confirmed on 10/07/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 01/17/2018.

         6) Number of months from filing to last payment: 38.

         7) Number of months case was pending: 44.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $31,211.55.

         10) Amount of unsecured claims discharged without payment: $165,999.72.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
 Case 14-40181       Doc 143      Filed 07/11/18 Entered 07/11/18 13:38:26                      Desc Main
                                   Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor             $69,681.00
       Less amount refunded to debtor                           $28.72

NET RECEIPTS:                                                                                  $69,652.28


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $3,310.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                     $3,032.77
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $6,342.77

Attorney fees paid and disclosed by debtor:               $1,190.00


Scheduled Creditors:
Creditor                                     Claim         Claim            Claim        Principal      Int.
Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
AMERICAN EXPRESS               Unsecured      3,274.79       3,274.79         3,274.79      3,274.79        0.00
BANK OF AMERICA NA             Unsecured      1,420.00            NA               NA            0.00       0.00
BANK OF AMERICA NA             Secured              NA           0.00             0.00           0.00       0.00
BANK OF AMERICA NA             Secured      107,000.00    105,204.51       107,080.63            0.00       0.00
Cb/Lnbrynt                     Unsecured           0.00           NA               NA            0.00       0.00
C-BASS/DYCK ONEAL              Unsecured     24,955.98            NA               NA            0.00       0.00
CITIBANK USA                   Unsecured           0.00           NA               NA            0.00       0.00
City of City                   Unsecured      2,890.70            NA               NA            0.00       0.00
COOK COUNTY TREASURER          Unsecured      1,615.20            NA               NA            0.00       0.00
COOK COUNTY TREASURER          Secured        1,615.20       1,615.20         1,615.20      1,615.20        0.00
DISCOVER FIN SVCS LLC          Unsecured           0.00           NA               NA            0.00       0.00
GENERAL REVENUE CORP           Unsecured      4,827.00            NA               NA            0.00       0.00
INTERNAL REVENUE SERVICE       Unsecured      5,956.79       5,956.79         5,956.79      5,956.79        0.00
INTERNAL REVENUE SERVICE       Priority      12,324.62     12,324.62        12,324.62      12,324.62        0.00
LEWIS UNIVERSITY               Unsecured      4,560.00            NA               NA            0.00       0.00
PEOPLES GAS LIGHT & COKE CO    Unsecured         300.00           NA               NA            0.00       0.00
PEOPLES GAS LIGHT & COKE CO    Unsecured         167.00           NA               NA            0.00       0.00
PEOPLES GAS LIGHT & COKE CO    Unsecured          87.00           NA               NA            0.00       0.00
REAL TIME RESOLUTIONS          Unsecured     54,874.12     54,874.12        15,271.88      15,271.88        0.00
Sears/Cbna                     Unsecured           0.00           NA               NA            0.00       0.00
US BANK NA                     Secured              NA     24,866.23        24,866.23      24,866.23        0.00
US BANK NA                     Unsecured      2,003.74            NA               NA            0.00       0.00
US BANK NA                     Secured       90,950.00     68,087.51              0.00           0.00       0.00
WELLS FARGO BANK               Secured       96,090.00    219,263.10       219,263.10            0.00       0.00
WELLS FARGO BANK               Secured              NA     54,664.04        54,664.04            0.00       0.00
WELLS FARGO BANK               Unsecured    123,173.10            NA               NA            0.00       0.00




UST Form 101-13-FR-S (09/01/2009)
 Case 14-40181         Doc 143      Filed 07/11/18 Entered 07/11/18 13:38:26                 Desc Main
                                     Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $326,343.73              $0.00              $0.00
       Mortgage Arrearage                                $24,866.23         $24,866.23              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                 $56,279.24          $1,615.20              $0.00
 TOTAL SECURED:                                         $407,489.20         $26,481.43              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                               $12,324.62         $12,324.62              $0.00
 TOTAL PRIORITY:                                         $12,324.62         $12,324.62              $0.00

 GENERAL UNSECURED PAYMENTS:                             $24,503.46         $24,503.46              $0.00


Disbursements:

         Expenses of Administration                             $6,342.77
         Disbursements to Creditors                            $63,309.51

TOTAL DISBURSEMENTS :                                                                      $69,652.28


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/11/2018                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
